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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

DANIEL HUMAN, individually and                )
on behalf of others similarly situated,       )
                                              )
            Plaintiff,                        )
                                              )
      vs.                                     )         Case No. 4:24-cv-01177-MTS
                                              )
FISHER INVESTMENTS, INC., et al.,             )
                                              )
            Defendants.                       )

                             MEMORANDUM AND ORDER

       This matter is before the Court on review of Plaintiff’s Motion for Partial

Summary Judgment.         Doc. [52].   Because Plaintiff’s Motion relies on an improper

declaration and its exhibits along with an unverified complaint, the Court will deny the

Motion. See Fed. R. Civ. P. 56(c)(1)(A); Williams v. Donahoe, 4:13-cv-1150-CAS, 2014

WL 6083133, at *3 (E.D. Mo. Nov. 13, 2014) (explaining that a court cannot rely on

plaintiff’s unsworn statements at summary judgment); Tweeton v. Frandrup, 287 F.

App’x 541, 541 (8th Cir. 2008) (per curiam) (explaining that an unverified complaint

could not be considered as evidence in summary judgment). Given this patent error, the

Court will deny the Motion without requiring opposition briefing by Defendant, the

nonmoving party on this Motion. See Fed. R. Civ. P. 56(e)(4) (allowing the Court to

issue “any . . . appropriate order” when “a party fails to properly support an assertion of

fact” in a motion for summary judgment); see also, e.g., Dougherty v. Leidos, 4:21-cv-

01163-MTS, 2023 WL 111893, at *1 (E.D. Mo. Jan. 5, 2023) (citing Fed. R. Civ. P. 1).
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       Plaintiff’s declaration, which purports to be made under 28 U.S.C. § 1746,

contains his typed name only, seemingly being offered as an electronic signature. An

electronic signature does not suffice here. Regardless of whether an electronic signature

is proper under § 1746, compare Blount v. Stanley Eng’g Fastening, 55 F.4th 504, 515–

16 (6th Cir. 2022), with Flakes v. Carr, No. 21-2464, 2022 WL 519909, at *1 (7th Cir.

Feb. 22, 2022) (unsigned and unpublished order), this Court’s Local Rule 2.11 requires

that Plaintiff’s declaration be physically signed. See E.D. Mo. L.R. 2.11 (providing that

an electronically filed document created for the litigation “must be physically signed” if

signed by someone “other than an attorney of record”). *

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Partial Summary

Judgment, Doc. [52], is DENIED without prejudice.

       Dated this 10th day of March 2025.




                                             MATTHEW T. SCHELP
                                             UNITED STATES DISTRICT JUDGE




*
  In addition, Plaintiff failed to comply with the Court’s clear requirement in the Case
Management Order that all memoranda in support or opposition to any dispositive motions must
contain a table of contents and a table of authorities. See Doc. [34] ¶ 5(b); see also Skelton v.
Henry, 390 F.3d 614, 617 (8th Cir. 2004) (referring to a motion for partial summary judgment as
a dispositive motion); Louisiana United Bus. Ass’n Cas. Ins. Co. v. J & J Maint., Inc., 328 F.
Supp. 3d 563, 568 (W.D. La. 2018) (collecting cases recognizing that motions for partial
summary judgment are indeed dispositive motions).
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